                     CASE 0:16-cr-00334-JNE-KMM Document 141 Filed 06/19/19 Page 1 of 1
AO 187 (Rev. Locally 03/18) Exhibit List



                                                  UNITED STATES DISTRICT COURT
                                                                                      DISTRICT OF                     MINNESOTA



                 United States of America                                                                         EXHIBIT LIST
                               V.
                       Paul R. Hansmeier                                                                                Case Number: 16cr334(1) (JNE/KMM)

PRESIDING JUDGE                                                        PLAINTIFF’S ATTORNEY                                   DEFENDANT’S ATTORNEY
               Joan N. Ericksen                                        Ben Langner & David MacLaughlin                                   Manvir K. Atwal
TRIAL DATE (S)                                                         COURT REPORTER                                         COURTROOM DEPUTY
                      June 14, 2019                                                  Kristine Mousseau                                  Catherine Cusack
 PLF       DEF         DATE
                                       MARKED         ADMITTED                                            DESCRIPTION OF EXHIBITS* AND WITNESSES
 NO        NO         OFFERED

   1                                                    6/14/19       Transaction List

   2                                                    6/14/19       Response List

   3                                                    6/14/19       Web Page

   4                                                    6/14/19       12/29/11 Letter




* Include a notation as to the location of any exhibit not held with the case file or not available because of size

                                                                                                                                     Page 1 of     1   Pages
